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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    _________________________________________

JOSEPH SIMMONS,                           :
           Plaintiff,                     :
                                          :
            v.                            :                   Civil No. 2:22-cv-01644-JMG
                                          :
THE CITY OF PHILADELPHIA, et al           :
            Defendants.                   :
__________________________________________


                                              ORDER

         AND NOW, this 1st day of May, 2024, upon consideration of Defendants’ City of

Philadelphia, Warden Michele Farrell, and Prison Commissioner Blanche Carney Motion to

Dismiss Plaintiff’s Fourth Amended Complaint for Failure to State a Claim (ECF No. 57) and

Plaintiff’s Response in Opposition (ECF No. 58), IT IS HEREBY ORDERED that Defendants’

Motion to Dismiss (ECF No. 57) is DENIED. 1




1
         Defendants move for dismissal pursuant to Fed. R. Civ. P. 12(b)(6). “To survive a motion
to dismiss, a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim
to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell
Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the
plaintiff pleads factual content that allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556).
“Threadbare recitals of the elements of a cause of action, supported by mere conclusory
statements, do not suffice.” Id. (citing Twombly, 550 U.S. at 555). A court is “not compelled to
accept unsupported conclusions and unwarranted inferences, or a legal conclusion couched as a
factual allegation.” Wheeler v. Wheeler, 639 Fed. Appx. 147, 149 (3d. Cir. 2016) (quoting
Morrow v. Balaski, 719 F.3d 160, 165 (3d Cir. 2013)).

       “Because vicarious liability is inapplicable to . . . § 1983 suits, a plaintiff must plead that
each Government-official defendant, through the official’s own individual actions, has violated
the Constitution.” Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009). However, a supervisory
defendant may be liable under § 1983 if the defendant, “with deliberate indifference to the
consequences, established and maintained a policy, practice or custom which directly caused [the
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plaintiff’s] constitutional harm.” Stoneking v. Bradford Area Sch. Dist., 882 F.2d 720, 725 (3d
Cir. 1989). Here, Plaintiff alleges that Defendants Farrell and Carney are directly responsible for
the injuries of Plaintiff through their actions or inactions as supervisors. Specifically, Plaintiff
alleges that Defendants Farrell and Carney were aware of the prion’s staffing shortages and the
corresponding rise in violent incidences. ECF No. 56 at ¶ 97 and 105. Plaintiff also alleges that
Defendants Farrell and Carney failed to maintain sufficient staffing levels or to properly retrain
the staff to compensate for the understaffing levels. Id. at ¶ 95 and 96. With all of these factors
taken together and at this stage in litigation, these inactions could amount to deliberate
indifference and establishing a practice or custom that could amount to supervisory liability
under § 1983 for Defendants Farrell and Carney.

        Plaintiff further alleges that the City of Philadelphia is also responsible for his injuries. In
order to sustain a § 1983 against the City, Plaintiff must demonstrate that a constitutional
protected right was violated, and the alleged violation resulted from a policy or custom that
exhibits deliberate indifference to the rights of citizens. Monell v. Dep't of Soc. Servs. of City of
New York, 436 U.S. 658, 694-95 (1978). Plaintiff can do this in two ways. Forrest v. Parry, 930
F.3d 93, 105 (3d Cir. 2019). For the first way, Plaintiff can show “an unconstitutional policy or
custom of the municipality” that led to his injuries. Id. For the second way, Plaintiff could show
that his injuries were “caused by a failure or inadequacy by the municipality that ‘reflects a
deliberate or conscious choice.” Id. (quoting Brown v. Muhlenberg Township, 269 F.3d 205, 215
(3d Cir. 2001)).

         In general, a plaintiff typically must demonstrate that there was a pattern of similar
constitutional violations to establish a custom. See Connick v. Thompson, 563 U.S. 51, 54
(2011). Also, a custom “requires proof of knowledge and acquiescence by the decisionmaker.”
McTernan v. City of York, Pennsylvania, 564 F.3d 636, 658 (3d Cir. 2009). Acquiescence can be
inferred when a plaintiff alleges “policymakers were aware of similar unlawful conduct in the
past, but failed to take precautions against future violations, and that this failure, at least in part,
led to their injury.” Bielevicz v. Dubinon, 915 F.2d 845, 851 (3d Cir. 1990). Here, Plaintiff
alleges that the City of Philadelphia established a custom or policy to understaff the prisons.
However, Plaintiff did not point to a specific policy. Also, Plaintiff did not allege sufficient facts
that the City of Philadelphia gave up or acquiesced on fixing the understaffing problem. Plaintiff
did state that the City of Philadelphia knew of the understaffing problem and held a hearing. See
ECF No. 56 at ¶ 89. This suggests that the City of Philadelphia was attempting to fix the
understaffing problem and did not acquiesce. This runs contrary to Plaintiff’s claim of the
establishment of a custom.

        Plaintiff also alleges that the City of Philadelphia is responsible because they failed to
train the correction officers appropriately. In order to show deliberate indifference for failure to
train, Plaintiff must ordinarily show a “pattern of similar constitutional violations by untrained
employees”. Connick, 563 U.S. at 62. Plaintiff alleges that even with increased violent crimes
occurring in prisons, the City of Philadelphia failed to adequately train staff to respond to
emergency situations in an appropriate manner given the understaffing. See ECF No. 56 at ¶ 198.
Additionally, Plaintiff could also show that a failure to provide the identified training “can be
said to be ‘so obvious,’ that failure to do so could properly be characterized as ‘deliberate
indifference’ to constitutional rights” City of Canton v. Harris, 489 U.S. 378, 390 n.10 (1989).
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                                                     BY THE COURT:




                                                     /s/ John M. Gallagher
                                                     JOHN M. GALLAGHER
                                                     United States District Court Judge




Specifically, Plaintiff alleges that Officer Simmons left Plaintiff after Plaintiff reported that he
“feared for his life” without taking any action besides noting it in the logbook and stating that he
would tell his supervisors. See ECF No. 56 at ¶ 49-52. Plaintiff alleges that he was later assaulted
that night and no officer came to his aid. Id. at ¶ 53-73. The inactions of Officer Wilson suggest
that he was not trained on how to respond to emergency situations or reports of safety concerns.
The need for prison correction officers to be trained in these dangerous and emergency scenarios
are “so obvious” that the failure to do so can be inferred as deliberate indifference. Based on all
of these allegations of failure to train, the Court concludes that Plaintiff sufficiently stated a §
1983 claim against the City of Philadelphia.
